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                        UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                    ORLANDO DIVISION


    JEAN LOUIS BARRETO-BAERGA,

                       Plaintiff,

    v.                                            Case No: 6:25-cv-00098-PGB-LHP

    OSCEOLA COUNTY, et al.,

                       Defendants.




                                          ORDER

           Before the Court is Plaintiff’s Unopposed Motion for Special Admission.

    Doc. No. 17. Upon review, the motion (Doc. No. 17) is GRANTED.

           Stephen H. Weil, Esq. may specially appear in this case as counsel for

    Plaintiff.   Attorney Weil shall immediately begin using the CM/ECF docket

    system and begin filing electronically. Counsel must register for a CM/ECF login

    and password through the website at www.flmd.uscourts.gov. Once registered

    for CM/ECF and added as counsel of record in this case, counsel will receive the

    Notification of Electronic Filing [NEF] on all documents.
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          The Clerk of Court is directed to mail a copy of this Order to Attorney Weil.

    Thereafter, the Clerk of Court shall not mail copies of documents filed in this case

    as counsel of record will receive such documents electronically through CM/ECF.

          DONE and ORDERED in Orlando, Florida on February 25, 2025.




    Copies furnished to:

    Counsel of Record
    Unrepresented Parties




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